               Case 6:22-bk-04240-LVV         Doc 8    Filed 03/06/23     Page 1 of 19




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   In re:                                                  Case No. 6:22-bk-04240-LVV
   KAREN MACVICAR RABORN,
                                                           Chapter 7
              Debtor.
                                                   /

                           MOTION TO APPROVE STIPULATION
                         FOR ENTRY OF AGREED FINAL JUDGMENT

         Creditor, Catholic Diocese of Orlando (“Diocese”), and Debtor, Karen MacVicar Raborn

(“Debtor” and together with Diocese, the “Parties”), by and through their undersigned counsel,

file this agreed stipulation requesting the Court enter a final judgment finding the Criminal

Restitution Judgment (defined below) is non-dischargeable. The Parties hereby stipulate as

follows:

         1.        On November 29, 2022, the Debtor filed a voluntary petition under Chapter 7 of

Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the Middle District of Florida, Orlando Division (Doc. No. 1 in Case No. 6:22-bk-04240-

LVV) (the “Bankruptcy Case”).

         2.        Before the Debtor filed her Bankruptcy Case, on April 28, 2009, the Circuit Court

of Seminole County, Florida, Criminal Division (the “Criminal Court”) sentenced the Debtor to

seventy-two months in prison and ordered her to pay restitution to the Diocese in the amount of

$929,082.00 (the “Criminal Restitution Obligation”) (Criminal Court Case No. 07-5524CFA).

         3.        The Court then entered a Restitution Judgment (the “Judgment”) for the Criminal

Restitution Obligation in the amount of $929,082.00. A copy of the Judgment is attached hereto

as Exhibit A.


4879-9631-7267.1
                Case 6:22-bk-04240-LVV          Doc 8    Filed 03/06/23     Page 2 of 19




         4.        Diocese advised the Debtor of its intention to file an adversary proceeding, seeking

a judgment finding the Criminal Restitution Obligation is non-dischargeable.

         5.        The parties hereby stipulate that the Criminal Restitution Obligation and Judgment

are non-dischargeable, fully enforceable, and unaffected by the Debtor’s Bankruptcy Case under

sections 523(a)(2)(A), 523(a)(4), and 523(a)(6) of the Bankruptcy Code.

         6.        The parties request the Court enter a final judgment finding the Criminal Restitution

Obligation and Judgment are non-dischargeable, fully enforceable, and unaffected by the Debtor’s

Bankruptcy Case.

              Respectfully submitted this 6th day of March 2023.



                                                 /s/ Danielle L. Merola
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                                                 Attorney for Catholic Diocese of Orlando

                                                 -and-

                                                  /s/ Walter F. Benenati
                                                 Walter F. Benenati, Esq.
                                                 Credit Attorney P.A.
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                                                 Attorney for Debtor Karen MacVicar Raborn




4879-9631-7267.1
               Case 6:22-bk-04240-LVV       Doc 8    Filed 03/06/23      Page 3 of 19




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 3rd day of March 2023, the foregoing Motion to Approve

Stipulation for Entry of Agreed Final Judgment was filed using the Court’s CM/ECF System which

will send a Notice of Electronic Filing and copy to all parties requesting such notice.

                                                     /s/ Danielle L. Merola
                                                     Danielle L. Merola




4879-9631-7267.1
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 4 of 19




                         EXHIBIT A
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 5 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 6 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 7 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 8 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 9 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 10 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 11 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 12 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 13 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 14 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 15 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 16 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 17 of 19
Case 6:22-bk-04240-LVV   Doc 8   Filed 03/06/23   Page 18 of 19




                  Proposed Final Judgment
                Case 6:22-bk-04240-LVV              Doc 8      Filed 03/06/23        Page 19 of 19




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

     In re:                                                         Case No. 6:22-bk-04240-LVV
     KAREN MACVICAR RABORN,                                         Chapter 7
              Debtor.
                                                          /

                                              FINAL JUDGMENT

           This case came before the Court upon the Motion to Approve Stipulation for Entry of

Agreed Final Judgment (Doc. No. __) filed by Creditor, Catholic Diocese of Orlando, and the

Debtor, Karen MacVicar Raborn. After reviewing the Stipulation (Doc. No. ___), it is

           ORDERED that the Criminal Restitution Obligation and Judgment, 1 in the amount of

$929,082.00, owed by Karen MacVicar Raborn in favor of Catholic Diocese of Orlando are non-

dischargeable, fully enforceable, and unaffected by the Debtor’s Bankruptcy Case under sections

523(a)(2)(A), 523(a)(4), and 523(a)(6) of the Bankruptcy Code. 2

                                                         ###

Attorney Danielle Merola is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and to file a proof of service within three days of entry of this order.

1
    Copies of the Criminal Restitution Obligation and Judgment are attached hereto as Exhibit A.
2
    All references to the Bankruptcy Code refer to 11 U.S.C. § 101 et seq.


4879-9631-7267.1
